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IN RE: OIL SPILL by “Deepwater Horizon”

DIRECT FILING SHORT FORM’

Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
(Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)

MDL 2179 SECTION: J WUDGE CARL BARBIER

By submitting this document, lam asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)

filed in MDL No. 2178 (10 md 2179}.

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| Middle Name/Maiden

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Phone Number "| E-Mail Address
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INDIVIDUAL CLAIM Be BUSINESS CLAIM: a . .
Employer Name ) “Business Name —
Job Title / Description Type of Business
Address Address
City / State / Zip oy City / State / Zip
Last 4 digits of your Social Security Number Zl Last 4 digits of your Tax ID Number
Attorney Name Firm Name
Sidney D. Torres, Roberta L. Burns, David C. Jarrell Law Offices of Sidney D. Torres, IT], APLC
Address City / State / Zip
8301 W. Judge Perez Dr., Ste 303 Chalmette, LA 70032
Phone Number E-Mail Address
(504) 271-8421 dcej@torres-law.com
Claim filed with BP? YEs 1 no Claim Filed with GCCF?: YES [] No []
If yes, BP Claim No.: : if yes, Claimant Identification No.:

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Claim Type (Please check all that apply):

C Damage or destruction to real or personal property 0] Fear of Future injury and/or Medical Monitoring
d Earnings/Profit Loss Loss of Subsistence use of Natural Resources
O Personal Injury/Death 0 Removal and/or clean-up costs
CT] Other:

1 This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.
10-8888. While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, C.A. No. 10-2771 and Rec. Doc. 982 in MDL
2179), the filing of this form in C.A. No. 10-8888 shall be deemed to be simultaneously filed in C.A. 10-2771 and MDL 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

Brief Description:

1.

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For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

2.

For personal injury claims, describe the injury, how and when it was sustained, and identify all heaith care providers and
employers 2008 to present and complete authorization forms for each.

3.

For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

2

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Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle B1)

O01. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or oystering.

Oi 2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

D3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who earn their living through the use of the Gulf of Mexico. .

0 4. Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

O15. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
0 6. __ Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

17 Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

C] 8. Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.

Dg. Bank, financial institution, or retail business that suffered losses as a result of the spill.

re Person who utilizes natural resources for subsistence.

(J 14. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)

1. — Boat captain or crew involved in the Vessels of Opportunity program.
CO 2. Worker involved in decontaminating vesseis that came into contact with oil and/or chemical dispersants.

D3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

Oo 4. Ciean-up worker or beach personnet involved in clean-up activities along shorelines and intercoastal and intertidal zones.
5. Resident who lives or works in close proximity to coastal waters.

Ol 6. Other:

Both BP and the Gulf Coast Claims Facility (‘“GCCF”) are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or_his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

Claimant oy/Attorni ignatufe

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YAGI!

Date

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The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

